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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NE\ü YORK


Lori Raffa Maxwell and Anthony Deluccia :             Case No.: 1:25-cv-5643
Individually and on Behalf ofAll
Others Similarþ Situated.
       Plaintffi                                  CLASS ACTION COMPLAINT
                                                  FOR VIOLATIONS OF THE FEDERAL
v.                                                SECURITIES LAWS

\ililliam Sarris                                  JURY TRIAL DEMANDED
       Defendant.




      Plaintiffs, individually, and on behalf of all others similarly situated, by and through their

undersigned counsel, bring this Class Action Complaint against Defendant V/illiam Sarris

("Sarris"), the founder and former CEO of Linqto, Inc. ("Linqto") and allege the following upon

personal knowledge as to their own acts, and upon information and belief as to all other matters,

based upon the investigation of counsel, including interviews of former Linqto employees who

worked directly under Sarris; interviews of Social Media Influencers who were hired and utilized

by Samis for marketing, customer recruitment and advertising; review of a legal memorandum,

dated October 16,2023, from a law firm experienced in securities law ("Legal Memorandum");

review of an internal memorandum dated October 25,2024, from Linqto's General Counsel,

Deputy General Counsel, and Chief Compliance Offrcer ("Internal Memo"); a Wall Street

Journal article, dated June 30, 2025, titled, A Hot New Firm Opened the Private Market to the

Little Guy. Now It Is In Big Trouble ("WSJ Article"); a civil lawsuit filed by Gene Zawrotny, a

former Linqto employee who worked directly under Sanis; Bankruptcy Petition and Declaration

of Jeffrey S. Stein in Support of Chapter 11 Petitions, First day Motions, and Related Relief, /n




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re: Linqto Texas, LLC, et al.,IJnited States Bankruptcy Court, filed in the Southern District of

Texas; and relevant securities laws.


                                PRE,LIMINARY STATEMENT

       Sarris is the founder and former CEO of Linqto, a financial technology online platform

("Platform") intended to enable investors to indirectly invest in private-market startups and pre-

IPO companies, with a primary focus on the technology sector. The Platform provided accredited

investors ("Accredited Investors") and non-accredited investors ("Non-Accredited Investors")

the opportunity to purchase securities ("Series Membership Interests") in one or more series

(each Private Company being a "Series") of Linqto Liquidshares, LLC, a Delaware series limited

liability company ("Liquidshares"). More specifically, Sarris directed Liquidshares to purchase

and hold securities of privately held companies and then directed Liquidshares to allocate an

economic interest in the Securities to a special purpose vehicle ("SPV") in the form of a series

limited liability company (the "Series"). Sarris would then offer Customers an opportunity to

purchase an indirect economic interest in the Securities of these different private companies by

purchasing units in the Series. In sum, the Series Membership Interests offered to investors

aimed to provide Accredited Investors and Non-Accredited Investors economic exposure to

private securities of non-public companies.

       Sarris was able to source the supply of underlying Private Securities from curuent or

former employees, early investors, and advisors of each Private Company. Sarris would

authorize buying underlying shares of a Private Company at a certain price per share. The Private

Company would update its books and records (e.9. Cap Table) to reflect the owner of the

acquired Private Securities in the name of the Series. Sarris would then sell the Series

Membership Interests (stated in units per share) at marked-up prices to both Accredited Investors
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and Non-Accredited Investors, purportedly relying on either Rule 506(b) or Rule 506(c) of the

Securities Act and Section 3(cXl) of the Investment Company Act. Each Series was supposed to

be associated with a different Private Company on the Platform and one unit in each Series was

purportedly to corresponded to one share of the underlying Private Company, acquired, and held

by Liquidshares.


       By advertising low investment minimums, Linqto's Platform rose in popularity.

Customers could buy stakes in popular private companies for as little as $1,000 - compared with

$10,000 or even $100,000 on other platforms with higher minimums. Sarris was quick to

recognize that by offering significantly lower investment thresholds, he could reach eager

investors who've been typically excluded from participating in private equity investing. On the

Platform's website, it reads: "Linqto offers private market starting at $1,000 unlike private equity

investments with $25,000 I minimums."



       Eventually the demand and sales revenue became too tempting, and Sarris began ignoring

U.S. securities laws, as well as FINRA rules on pricing. In his rush to sign up more users, Sarris

also pushed other boundaries, buying email lists that contained prospective customers from

sanctioned nations such as Iran and North Korea. Sarris directed staff to allow people who

weren't accredited investors to participate on the Platform in direct violation of securities laws.


        SPVs put investors one step away from actual ownership of shares because they own

units of the SPVs, rather than the stock itself, but the way Sarris directed advertising and

marketing bluned the lines for investors, many of whom, were not sophisticated and did not

meet Accredited Investor status. In fact, for thousands of investors, investing on the Platform was

the first time they had ever experienced investing in private equity.
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       Sarris was capitalizing on the desire of smaller investors wanting to buy pieces of very

expensive private companies. One compan¡ Ripple Labs, Inc. ("Ripple"), stood out the most.

Ripple is a FinTech Blockchain Company associated with the third largest cryptocurrency in the

world - XRP. The XRP community is an extensive decentralized global community with

hundreds of thousands of XRP holders around the world. Tens of thousands of XRP holders

believe strongly in Ripple as a company and maintain a strong sense of loyalty to Ripple. For

example, when the Securities & Exchange Commission ("SEC") filed an enforcement action

against Ripple, seventy-f,rve thousand (75,000) XRP holders, from one-hundred forty-three (1a3)

countries joined the lawsuit as amici curiae. Undersigned counsel served as counsel for XRP

holders in the SEC v. Ripple case. Sarris \À/as very aware of the XRP communit¡ referencing the

community quite often. He was aware demand for Ripple stock would be significant.


       By lowering the minimum investment thresholds, Sarris was able to capitalize and

leverage XRP holders'loyalty and desire to own Ripple shares. In doing so, Sarris orchestrated a

deceptive marketing scheme. In fact, according to a recent V/all Street Journal article, "Sarris

gained the nickname 'Wizard of Oz'because he pulled levers controlling the firm's sales and

strategy, often without telling anyone around him and without warning." Sarris also hired

popular Social Media Influencers within the XRP Community, convincing them Linqto would be

the next great Unicorn (a private company valued at $1 billion or more). Sarris didn't just direct

sales teams, subordinates, and influencers, he met with groups of investors, including those in

this district, during zoom meetings and town halls, hyping Linqto's growth, claiming Linqto

would become a major player for selling private shares and the next multibillion-dollar company

in the financial-services industry. Sarris made misleading statements to investors and the public,

boasting that Linqto had 750,000 customers, when in reality, it had no more than 15,000.
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       Part of the deceptive marketing strategy was to leverage and exploit the demand for

Ripple shares. First, the marketing and advertising, directed by Sarris, was misleading, causing

investors, including Non-Accredited Investors, to believe that they were purchasing actual shares

of Ripple instead of only an interest in an SPV holding Ripple shares. Many customers were led

to believe they directly owned shares of Ripple. Second, Sarris intentionally created customer

FOMO (fear of missing out) in being able to acquire Ripple shares. Despite Liquidshares owning

tens of thousands, or even hundreds of thousands of additional Ripple shares, Sarris directed his

team to whip up demand by blasting out emails and social media alerts statingthat Ripple stock

was in VERY short supply. Despite having tens of thousands, or even hundreds of thousands, of

Ripple shares on hand, Sanis would advertise that Linqto was doing its very best to somehow

find and acquire more Ripple shares but warned, if successful, available shares would be VERY

limited and that Linqto would likely sell out very quickly. Days later, after allegedly selling out

of Ripple shares, Sarris would direct the sales and marketing teams to announce a sudden,

supposedly new availability of Ripple shares. Sarris would then rinse and repeat the marketing

ploy, related to Ripple shares. Many, if not all, on the Linqto sales and marketing teams, were

completely unaware that Sanis was lying about selling out of Ripple shares. Hence, the

nickname, V/izard of Oz.

       The deceptive marketing worked! Of the approximately 13,000 SPV holders,

approximately 11,300 investors (both Accredited and Non-Accredited) invested in HUNDREDS

of Ripple SPV Series - a direct violation of the SEC's Integration Rule, which Sanis was made

aware of multiple times, yet ignored. V/ith minimal checks about income and assets, investors,

both Accredited and Non-Accredited, like the Plaintiffs, were able to start buying securities in

private companies, especially in Ripple.


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        Sanis also implemented marketing tactics to drive demand even higher. He encouraged

Linqto customers to recruit friends in order to earn "Linqto Bucks" - credits in their own

accounts to apply to their own purchases of SPV units. In practice, this caused Accredited

Investors to help recruit Non-Accredited Investors. Sarris provided those Accredited Investors

with Linqto Bucks (denominated in dollars). When Accredited Investors applied their Linqto

Bucks to purchase Ripple units, it lowered the price per share they paid. The Non-Accredited

Investors they recruited, however, ultimately paid a higher price per share for the same Ripple

offering.

        If Sarris wasn't giving out Linqto Bucks to reward recruitment, it was XRP. Sarris was

aware that many in the XRP Community were XRP Rich but Cash Poor. Sanis, therefore,

devised a plan to accept XRP as payment for Ripple shares. Sarris used XRP and the SEC v

Ripple litigation to drive demand for Ripple shares. In the Ripple litigation, the SEC alleged that

XRP was an investment contract (aka security) with Ripple. Sarris directed his marketing team to

advertise to XRP holders that they could help demonstrate XRP's utility AND prove XRP was

not a security by using it to purchase actual shares of Rípple. The marketing tactic,

distinguishing XRP from actual securities (i.e., shares), was quite clever, but misleading.

Investors, including many Non-Accredited Investors, who purchased SPV units in Ripple, by

using XRP as payment, believed they were actually acquiring Ripple shares. Furthermore, Sarris

misled investors into believing that Linqto, like XRP holders, had an Uphold account. Uphold

Inc. ("Uphold") is a digital finance platform founded in2013, headquartered in New York, with

offices in California and London. It offers a multi-asset trading and digital wallet service,

allowing users to buy, sell, and transfer various assets, including over 360 cryptocurrencies,

stablecoins, precious metals and some equities. During the pendency of the SEC v. Ripple case,


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Uphold was one of the very few platforms or exchanges that allowed users to trade XRP. Sanis

promoted that Linqto accepted payment in XRP for Ripple shares, suggesting to investors that

there was a formal arangement between Uphold and Linqto, bolstering Linqto's credibility. The

truth is, however, Linqto NEVER maintained a corporate account with Uphold. Sanis simply

usedhis personal Uphold account to accept payment in XRP. Sarris also offered "XRP

Airdrops" as a reward for buying Ripple shares on the Platform. The way it was sold to investors

was that they bought Ripple shares on the platform, they would receive XRP in their Uphold

XRP wallet. This suggested partnership with Uphold bolstered Linqto's credibility among

investors. Yet, Sarris was using his personal XRP Uphold wallet the entire time. When lawyers,

staff, or even his own compliance officer informed Sarris that what he was doing was

misleading, and he should stop, Sarris ignored them. Sarris's attitude was expressed in his own

words in an email he sent to staff: "Take no prisoner. This is guerrilla warfare." That same

attitude drove his marketing strategy and on January 5,2023, Sarris wrote an email stating:

"When we go for a Spike Day (over $lM in sales), we sometimes have to pull out all stops

and even sell to the unwashed. 6Ð"

       Because of high demand, Sanis focused on Ripple shares. In an email to sales managers,

            ooThrow
he wrote:             everything we have at this one targeted date...influencers, marketing, ads,

social, calls and smoke signals." At times, employees pushed back over the promotional emails

fabricated FOMO, or just raised legal concerns generally. Sarris's usual response: "Forget what

legal says." At times, if an employee pushed back too hard, Sarris threatened to fire him. In fact,

one employee, Gene Zawrotny, who served as Linqto's Chief Revenue Officer for a period, sued

Linqto and Sarris, alleging that he was wrongfully terminated by Sarris after raising concerns

about blatant compliance violations within the company. According to Zawrotny, he discovered

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that many of the customers were Non-Accredited Investors, despite the company's offerings

being limited to Accredited Investors. Zav,notny raised alarms about other compliance concerns,

including misleading marketing practices and unlicensed brokers operating within the firm.

According to Zawrotny, he tried to get Sarris to take the compliance issues seriously but was

unable. He claims he was fired less than two months after bringing the regulatory issues to

Sarris's attention.

        Sarris controlled the SPVs and the shares of Ripple like he managed his Uphold XRP

account - like a personal piggy bank. At the end of 2023, Saris learned that Ripple, which

remains private, was preparing to buy back shares from customers at roughly $61 per share.

Sarris reached out to customers and convinced them to sell 144,000 shares of Ripple back to

Linqto at an average price of $55 per share. Sarris then sold those 144,000 shares to Ripple at the

$61 price, booking more than $8 million in revenue. Sarris didn't always, however, ask for

consent before selling customer interests in Ripple for a huge profit. During another Ripple

tender offer, Sarris, without informing customers, sold 3% of the Ripple shares held in the

hundreds of Ripple SPV Series. The payday was more than $18 million dollars. Customers

owning the interests in those Ripple shares received nothing. In fact, most customers remain

unaware that some of their interests in Ripple shares have been sold.

        Zawrotny wasn't the only one raising compliance issues to Sanis. On October 16,2023,

Sarris received aLegal Memorandum by an outside firm documenting multiple securities and

FINRA violations, including anti-fraud violations. The Legal Memorandum documented the

corrective action necessary. Sarris ignored it. One year later, on October 25,2024, Sarris

received an Internal Memo from Linqto's General Counsel, Deputy General Counsel, and Chief

Compliance Officer. The Internal Memo, likewise, documented the multiple violations. Sarris,

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once again, took no corrective action. By this time, the SEC and FINRA had begun

investigations into Sanis and Linqto's business practices. On March 13,2025, Linqto's new

management shut off the Platform, citing regulatory issues. On July 7,2025, Linqto filed for

Chapter I I Bankruptcy Protection in the Southern District of Texas. Upon information and

belief, Saruis is facing a DOJ investigation and possible indictment.


                                  NATURE OF THE ACTION

       l.      This is a federal securities class action brought on behalf of a class of
 approximately 13,000-14,000 investors ("Class") who purchased Series Membership Interests
 ("SPV units") in one or more series of Linqto Liquidshares, LLC ("Liquidshares") through the
 Linqto online platform between January 1,2018, and the present ("Class Period"). The Class
 includes both accredited and non-accredited investors who were misled by Defendant William
 Sarris's fraudulent and unlawful conduct, resulting in significant financial losses and harm.




       2.      Sarris, the founder, and former Chief Executive Offrcer of Linqto, personally

orchestrated a scheme to ofler and sell securities in violation of multiple provisions of the

Securities Act of 1933 (15 U.S.C. $$ 77a et seq.), the Securities Exchange Act of 1934 (15

U.S.C. $$ 78a et seq.), the lnvestment Company Act of 1940 (15 U.S.C. $$ 80a-1 et seq.), and

Financial Industry Regulatory Authority (FINRA) rules. These violations include unregistered

broker-dealer and dealer activities, excessive and undisclosed markups, fraud, unregistered

investment company operations, non-exempt unregistered securities offerings, and inadequate

anti-money laundering (AML) and know-your-customer (KYC) procedures, all while knowingly

or recklessly disregarding warnings from legal and compliance advisors.




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       3.      Sarris received the Legal Memorandum, dated October 16,2023, which detailed

extensive securities law violations in Linqto's operations, recommending immediate remedial

actions. Over a year and nine days later, on October 25,2024, Sarris received the Internal Memo

from Linqto's General Counsel Jack Drogin, Deputy General Counsel Jodi Jamison, and Chief

Compliance Officer Susan'Woodard, reiterating ongoing violations in light of an SEC request for

information and likely FINRA enforcement actions. This blatant failure to take corrective action,

after being advised by both outside and inside counsel, in and of itself, demonstrates Sarris's

intent or reckless disregard to violate securities laws, establishing scienter. Sarris continuously

demonstrated contempt for U.S. securities laws and his intent to violate them whenever an

employee raised legal or compliance issues. Sarris's usual response (both verbally and in email

correspondence) to such legal concerns was simply to say: "Forget what legal says" or "If I think

legal should be overridden, I will tell you."

   4. Cumulatively, the Legal Memorandum and Internal Memo warned Sarris of:
      . Directing unregistered broker-dealer activities by overseeing Linqto's Marketing
       Intelligence (MI) team and sales operations, violating Section 15(a)(1) of the Exchange

       Act (15 U.S.C. $ 78o(a)(l)).

        . Authorizing excessive and'undisclosed markups of 20-50% (Legal Memorandum) or
        over 10% (Internal Memo) on SPV units, deemed fraudulent, violating Section 17(a) of

       the Securities Act (15 U.S.C. $ 77q), Section 10(b) of the Exchange Act (15 U.S.C. $

        78j(b), and Rule 10b-5 (17 CFR $ 240.10b-5).

        . Structuring integrated SPV series that exceeded the l00-investor limit, violating
        Section 7(a) of the Investment Company Act (15 U.S.C. $ 80a-7).



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       . Overseeing non-compliant securities offerings under Rule 506(b) and Rule 506(c) of
       Regulation D, violating Section 5 of the Securities Act (15 U.S.C. $ 77e).


       . Failing to implement adequate anti-money laundering (AML) and know-your-customer
       (KYC) procedures, exposing investors to unregulated transactions.

       . Directing non-compliance with FINRA Rules 2010,2020,2121, and 5122, including
       directing fraudulent marketing and high-pressure sales tactics by intentionally creating

       investor FOMO (fear of missing out) related to customers and investors interested in

       purchasing interests in the Ripple Labs Inc.-related series ("Ripple series").



       5.      Sarris's personal actions, as the controlling and sole decision-maker, caused

investors to purchase SPV units at inflated prices due to fraudulent marketing and high-pressure

sales tactics, creating a false sense of urgency or FOMO, at undisclosed excessive markups,

without proper disclosures or compliance with exemptions under Rule 506(b), Rule 506(c), or

Rule 144 (17 CFR ç 230.144} These actions led to losses when the truth was revealed,

exacerbated by regulatory scrutiny and investor frustration, loss of confidence and complaints.


       6.      This action is brought solely against Sarris in his individual capacity for his
personal fraudulent conduct and intentional violations, independent of Linqto's corporate

actions. Plaintiffs seek compensatory damages, rescission, and disgorgement for Sarris's
violations, which affected both accredited and non-accredited investors who relied on his
misrepresentations and omissions. In sum, Sarris made millions while innocent investors have
 or will experience significant financial harm.




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       7.      During the Class Period, Sarris made materially false and misleading statements

regarding the Company's business operations, the availability of SPV shares related to the Ripple

series, Linqto's financial condition, and compliance practices. Sarris orchestrated a scheme of

rewarding accredited investors with Linqto Bucks and/or XRP air drops from his personal

Uphold Account, reducing the costs of SPV unit shares for accredited investors while using

fraudulent and deceptive marketing, creating FOMO by claiming very limited Ripple series

availability, and causing non-accredited investors to pay even higher mark-ups.

       8.       As a result of the Defendants' wrongful acts and omissions, Plaintiff and other

Class members have or will suffer significant losses and damages.



                                 JURISDICTION AND VENUE

       9.       This Court has jurisdiction over this action pursuant to:
    . Section 22 of the Securities Act (15 U.S.C. $ 77v);
    . Section 27 of the Exchange Act (15 U.S.C. $ 78aa);
    . Section 44 of the Investment Company Act (15 U.S.C. $ 80a-43);
    . 28 U.S.C. $ 1331 (federal questionjurisdiction); and
    . 28 U.S.C. $ 1367 (supplemental jurisdiction for state law claims).
        10. Venue is proper in this District pursuant to 28 U.S.C. $ 1391(b) and Section 27 of the

    Exchange Act (15 U.S.C. $ 78aa) because Sarris's fraudulent marketing and sales activities

    personally and through the Linqto platform targeted investors in New York, and he conducted

    business in this District.



                                                 PARTIES

        11.     Plaintiffs: Lori Raffa Maxwell and Anthony Deluccia are residents of New York,

Linqto customers and SPV unit holders who purchased units in one or more series of Linqto

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Liquidshares, LLC during the Class Period and was damaged thereby. Plaintiffs, and all others

similarly situated, include both accredited and non-accredited investors who suffered financial

losses due to Sarris's misconduct.


        12. Defendant William Sarris: Sarris is a resident of California and founder and
former CEO of Linqto, a financial technology platform intended to enable investors to indirectly

invest in private equity, with a primary focus on the technology sector. Linqto is a Delaware

company with offrces in California. Sarris has conducted business in this District. Sarris

personally directed and knowingly participated in the fraudulent scheme, including designing,

and overseeing the Linqto platform, structuring SPV ofilerings, orchestrating inflated prices due

to fraudulent marketing and high-pressure sales tactics, creating FOMO and setting pricing

practices with excessive markups. Sarris received the Legal Memorandum on October 16,2023,

and the Internal Memo on October 25,2024,placing him on notice of violations, yet

intentionally or recklessly failed to take corrective action, demonstrating his personal intent to

violate securities laws. Sanis's intent to violate U.S. securities laws was evident because his

usual response to any employee who raised legal concerns was simply to say: "Forget what legal

says." Sarris often expressed disregard for Linqto lawyers to his employees, saying in one email:

"If I think legal should be overridden,I will tell you."



                                     CLASS ALLEGATIONS

        13. Plaintiffs bring this action as a class action pursuant to Rule 23(a) and (bX3) of the

Federal Rules of Civil Procedure on behalf of a Class defined as:


        All persons or entities who purchased SPV units in any series of Linqto Liquidshares,

LLC through the Linqto platform during the Class Period (January I,2018, to present), including
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both accredited and non-accredited investors. Excluded from the Class are Sarris, his immediate

family members, and any entities he controls.


       14. The Class is so numerous that joinder is impracticable, with approximately 13,000-

14,000 investors, including an estimated 11,300 in the Ripple series. As noted in the Legal

Memorandum, dated October 16,2023, af that time, there were 6,497 investors in the Ripple

series. Saris, knowing full well that Linqto was engaging in multiple securities and FINRA

violations, directed another 4,803 SPV investors into the Ripple series.


       15. Common questions of law and fact predominate, including:

 . Whether Sarris violated Sections 5 and 17(a) of the Securities Act, Sections 10(b) and
     l5(a)(1) of the Exchange Act, and Section 7(a) of the Investment Company Act through his

     personal actions;


 . Vy'hether Sarris engaged in a scheme to defraud investors through undisclosed markups,
     integration violations, and non-compliance with exemptions;


 . 'Whether Sarris's offerings complied with Rule 506(b), Rule 506(c), or Rule 144 (17 CFR $
     230.144);


 . Whether Sarris's failure to take corrective action after receiving the Legal Memorandum and
     Internal Memo demonstrates scienter;


 . The extent of damages suffered by the Class due to Sarris's intentional and reckless conduct.

        16. Plaintiffs' claims are typical of the Class, as they purchased SPV units during the

Class Period, relied on Sarris's misrepresentations, and suffered losses due to his unlawful

conduct.
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       17. Plaintiffs will fairly and adequately represent the Class, having no conflicts and

retaining competent counsel experienced in securities class actions.


       18. A class action is superior for adjudicating these claims, given the large number of

investors and common issues. Both accredited and non-accredited investors can be included in

the same class, as their claims arise from Sarris's fraudulent scheme, with common legal and

factual issues predominating. Subclasses may be certified if distinct issues arise, such as non-

accredited investors' exposure to improper Rule 506(b) offerings or differing reliance related to

marketing, advertising, statements or disclosures.


                                  FACTUAL ALLEGATIONS
                              Sarrists Role in Linqto's Operations

        19. Sarris, as the founder and CEO of Linqto,Inc., personally designed and controlled

the Linqto online platform, which offered investors, both accredited and non-accredited, the

opportunity to purchase SPV units providing economic exposure to private securities of non-

public companies ("Private Securities").


       20. Sarris directed the structuring of SPV offerings, including the purchase of Private

Securities, funded by loans he authorized, and their resale to SPV series at a profit. He personally

oversaw the pricing of SPV units, imposing undisclosed excessive markups (as high as 60%) and

managed marketing and sales activities, including through the Marketing Intelligence (MI) team.


        21. SPV units were restricted securities under Rule 144(a)(3) (17 CFR $ 230.144(a)(3)),

subject to resale limitations unless registered or exempt, which Sarris failed to ensure.




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                    The Legal Memorandum and Initial Notice of violations

       22. OnOctober 16,2023,Sarris received the Legal Memorandum, which detailed
                                                                   his control, recommending
extensive securities law violations in Linqto's operations under

                                                                      terminating non-compliant
immediate remedial actions, including ceasing excessive markups,

                                                                             warned Sarris of:
Rule 506(b) offerings, and correcting Form D filings. The Memorandum


        . Unregistered Broker-Dealer Activity: Sarris directed Linqto's MI team and sales
                                                                                  activities in
        operations to solicit investors, engaging in unregistered broker-dealer

                                                                                  compensation was a
        violation of Section 15(aXl) of the Exchange Act. Transaction-based

        hallmark of such activitY.


        . Excessive Markups: Sarris authorized undisclosed markups of 20-50o/o on SPV units'
                                                                                         Act, Rule
        violating section 17(a) of the securities Act, section 10(b) of the Exchange
                                                                   presume markups over 5Yo
        10b-5, and FINRA Rules 20!0,2020, and}l2l, which

        excesslve


        . Fraudulent Offerings and Series DefÏciencies: Sarris oversaw offerings with
         inadequate disclosures of markups, ambiguous ownership of
                                                                        Private Securities' and

                                                                                      17(a) and Rule
         failure to observe corporate formalities, constituting fraud under Section

         10b-5.


         . Non-Exempt Unregistered Securities Offerings: Sarris structured integrated series
                                                                             under Section 12(g) of
         offerings (e.g.,l64Ripple Labs series) that required registration

                                                                       due to non-compliance with
         the Exchange Act, violating Section 5 of the Securities Act

         Rule 152 safe harbors.



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        . Unregistered Investment Companies: Sarris's structuring of integrated series
       exceeded the 1O0-investor limit under Section 3(c)(1), violating Section 7(a) of the

       Investment Company Act.


        . Improper Form D Fitings: Sarris approved the use of a single CIK for Form D filings,
        undermining separate offering claims, risking violations of Rule 506(d).


        23. The Legal Memorandum cited SEC v. Straightpath Venture Partners LLC,No.l:22-

cv-03897 (S.D.N.Y. 2023), as a comparable case, reinforcing the likelihood of SEC enforcement

against Sarris's conduct.


                      The Internal Memo and Continued Non-Compliance
        24. On October 25,2024, over a year and nine days after the Legal Memorandum, Sarris

received the Internal Memo, reiterating ongoing violations under his control in light of an SEC

request for information and likely FINRA enforcement actions. The Internal Memo confirmed

Sarris's failure to take corrective action since October 2023, evidencing his intentional or

reckless disregard. It detailed:


        . Unregistered Broker-Dealer Activity: Sarris directed the MI team to solicitor SPV
        unit sales without licensing or supervision, violating Section 1s(aXl). The issuer

        exemption was inapplicable due to active sales roles.


        . Unregistered DealerActivity and Undisclosed Markups: Sarris authorized buying
        and reselling securities at markups exceeding l0%o, deemed inherently fraudulent       if
        undisclosed, violating Section l7(a), Section 10(b), and Rule 10b-5.




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       . Unregistered Investment Companies: Sarris's structuring of integrated SPVs (e.g.,
       Ripple Labs) exceeded the 10O-investor limit, violating Section 7(a) of the Investment

       Company Act, exacerbated by single CIK Form D filings.


       . Non-Compliance with Rule 506(c): Sarris permitted self-certification of accredited
       investor status, violating Rule 506(c), risking unregistered securities sales under Section

       5.


       . AML/KYC Deficiencies: Sarris failed to implement compliantAMLÆ(YC procedures,
       including non-compliant Plaid ID verification and lack of transaction monitoring,

       exposing investors to penalties, as highlighted by the TD Bank AML case.


       . tr'INRAViolations: Sarris's oversight of marketing without Series 24 principal review,
       high-pressure sales tactics, and inadequate complaint handling violated FINRA Rules

       2010,2020, and2l2l.


       25. Cumulatively, the Legal Memorandum and Internal Memo demonstrate Sarris's

knowledge of violations since October 16,2023, and his failure to act by October 25,2024,

establishes scienter through intentional or reckless disregard of securities laws.


                                      Violations of Rule 144

       26. Sarris's direction of SPV unit sales, restricted securities under Rule 144(a)(3), failed

to comply with Rule 144's safe harbor, negating the Section a(aX1) exemption (15 U.S.C. $

77d(aX1)):




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          . Lack of Current Public Information: Sarris failed to ensure adequate public
          information, as required by Rule Iaa@)Q) for non-reporting issuers (17 CFR $ 240.15c2-

           1 1).




           . Holding Period Violations: Rule 144(dXlXii) requires a one-year holding period for
          non-reporting issuers. Sarris authorized sales without ensuring compliance, particularly

           for non-accredited investors.


           . Notice Requirements: For sales exceeding 5,000 shares or $50,000, Rule 144(h)
          requires Form 144 filings. Sarris approved the use of a single CIK, violating this

           requirement.


         27. These failures rendered Sarris an underwriter under Section 2(a)(11) (15 U.S.C. $

7   7b(a)(l I )), requiring registration.


                                             Impact on Investors
    28. Sarris's misrepresentations and omissions, directed personally, included:
           . Undisclosed markups of 20-50% (Legal Memorandum) or over l0%o (Internal Memo),
           inflating SPV unit prices, at times as high 60%.

           . False claims of compliance with Rule 506(b), Rule 506(c), and Rule 144 exemptions.

           . Failure to disclose integration risks and unregistered investment company status

           . Inadequate AML/KYC procedures, exposing investors to unregulated transactions

           29. Both accredited and non-accredited investors relied on Sarris's misrepresentations,

purchasing SPV units at inflated prices. Non-accredited investors faced additional harm from



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improper Rule 506(b) offerings without required disclosures under Rule 502(b)(2) (17 CFR $

230.s02(b)(2)).


        30. Regulatory scrutiny, investor complaints, and revelations of Sarris's violations

caused SPV unit values to plummet, resulting in losses estimated at tens of millions of dollars.


                          Independence from Bankruptcy Proceedings

        31. This action is brought solely against Sarris in his individual capacity for his personal

fraudulent conduct and intentional violations, not as an officer acting within corporate duties.

Sanis's actions, including disregarding explicit warnings in the Legal Memorandum and Internal

Memo, were knowing or reckless, constituting independent tortious conduct outside the scope of

Linqto's bankruptcy estate.


        32. The claims against Sarris are not derivative of claims against Linqto or its affiliates

and do not seek recovery from corporate assets, ensuring this action is not subject to the

automatic stay under l l U.S.C. S 362. The Class seeks to hold Sarris personally liable for his

direct role in defrauding investors, independent of Linqto's impending bankruptcy filing.


                                      CAUSES OF ACTION

           Count I: Violation of Section 17(a) of the Securities Act (Against Sarris)

        33. Plaintiffs incorponteparagraphs 1-32 by reference.


        34. Sarris, in the offer or sale of securities, by the use of interstate commerce or mails,

directly or indirectly:


        . Employed devices, schemes, or artifices to defraud;

        . Obtained money by means of untrue statements or omissions of material fact; and

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       . Engaged in transactions, practices, or courses ofbusiness that operated as a fraud, in
       violation of Section 17(a)(1), (2),and (3) (15 U.S.C. $ 77q(a)).


       35. Sarris's authorization of undisclosed markups, integration violations, and non-

compliance with Rule 506(c), as warned in both memoranda, constituted fraudulent conduct.


       36. Sarris's failure to act on the Legal Memorandum (October 16, 2023) and Internal

Memo (October 25,2024) demonstrates scienter through intentional or reckless disregard.


       37. Plaintiffs and the Class suffered damages, purchasing securities at inflated prices.


Count II: Violation of Section 10(b) of the Exchange Act and Rule 10b-5 (Against Sarris)
 38. Plaintiffs incorporcte paragraphs l-37 by reference.


 39. Sarris, in connection with the purchase or sale of securities, by the use of interstate

     commerce, directly or indirectly:


       . Employed devices, schemes, or artifices to defraud;

       . Made untrue statements or omitted material facts necessary to make statements not
       misleading; and


       . Engaged in acts, practices, or courses of business that operated as a fraud, in violation
       of Section 10(b) (15 U.S.C. $ 78j(b) and Rule 10b-5 (17 CFR $ 240.10b-5).


       40. Sarris's misrepresentations included undisclosed markups, false exemption claims,

and integration issueì, as detailed in both memoranda.


       41. Sarris's inaction over a year after the Legal Memorandum, reiterated by the Intemal

Memo, establishes scienter.

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        42. Plaintifß and the Class relied on these misrepresentations, suffering damages.

               Count III: Violation of Section 5 of the Securities Act (Against Sarris)
        43. Plaintifß incorporate paragraphs 142 by reference.


        44. Saris directed the offer and sale of securities without a registration statement or

applicable exemption, in violation of Section 5(a) and (c) (15 U.S.C. $ 77e(a), (c)).


        45. The integrated SPV offerings and non-compliance with Rule 506(b), Rule 506(c),

and Rule 144, as noted in both memoranda, required registration.


        46. Plaintiffs and the Class are entitled to rescission or damages.

    Count IV: Viotation of Section 7($ of the Investment Company Act (Against Sarris)
        47    . Plairftiffs incorporate paragraphs l-46 by reference.

        48. Sanis structured integrated SPVs that exceeded the 1O0-investor limit under Section

3(c)(1), constituting an unregistered investment company in violation of Section 7(a) (15 U.S.C.

$ 80a-7).


        49. Plaintiffs and the Class suffered damages and seek rescission.

            Count V: Violation of Section 15(a)(1) of the Exchange Act (Against Sarris)

        50. Plaintiffs incorporate paragraphs 1-49 by reference.


        51. Sarris directed unregistered broker-dealer and dealer activities, violating Section

1s(aXl) (1s U.S.c. $ 78o(a)(1)).


        52. Plaintiffs and the Class suffered damages due to reliance on Sarris's unregulated

activities.


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                       Count VI: Common Law Fraud (Against Sarris)

       53. Plaintiffs incorporateparugraphs 1-52 by reference.


       54. Saris knowingly or recklessly made false representations and omissions, intending

to induce investor reliance, as confirmed by both memoranda.


       55. Plaintifß and the Class relied on these misrepresentations, suffering damages.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, on behalf of themselves and the Class, respectfully request:


       A. Certification of the action as a class action under Rule 23, appointing Plaintiffs as

       class representatives and their counsel as class counsel;


       B. Compensatory damages against Saris, including pre- and post-judgment interest;


       C. Rescission of SPV unit purchases, returning funds plus statutory interest;


       D. Disgorgement of Sarris's ill-gotten gains, which is in the millions;


       E. Injunction against Sarris's further violations;


       F. Reasonable attorneys'fees, costs, and expenses;


       G. Other relief as the Court deems just.




                                         JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable



DATED: July 9,2025


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                                           Respectfully submitted,
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                                           Proposed Class

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